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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      :
                                               :
       v.                                      :      Criminal No. 21-CR-291-2 (ABJ)
                                               :
ALBUQUERQUE COSPER HEAD,                       :
                                               :
                       Defendant.              :

                    SUPPLEMENT TO THE GOVERNMENT’S
               MEMORANDUM IN SUPPORT OF PRE-TRIAL DETENTION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this Supplement to its Memorandum in Support of

Pre-trial Detention, which was filed on April 28, 2021 (ECF No. 32).

       As an initial matter, the government supplements the following quote to include the case

citation from United States v. Jeffrey Sabol, in which Judge Emmett G. Sullivan found that “grave

concerns” were “implicated by Mr. Sabol’s conduct, which included using physical force to strip

Officer A.W. of his police baton, assisting other rioters in pulling officer B.M. into the mob,

assaulting Officer B.M. with the baton he had stolen from Officer A.W.” which set “him apart

from other rioters who engaged with law enforcement but have been granted pretrial release.”

United States v. Jeffrey Sabol, 21-cr-35 (EGS), (ECF No. 56) at 36.

       The government further notes that while the cases of United States v. Clayton Ray Mullins,

21-cr-35-2 (EGS), (ECF No. 50-2) and United States v. Michael John Lopatic, 21-cr-35-3 (EGS),

(Minute Order, April 26, 2021) are both factually similar to the instant case and similar in that the

government is not seeking detention under Section 3142(f)(1), however, for the reasons set forth

in Government’s Memorandum in Support of Pre-trial Detention (ECF No. 32), this case is

distinguishable. There is significant evidence that there is a serious risk the defendant will flee or
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obstruct justice as the defendant was on probation in the state of Tennessee in Case No. 40844 and

did not have permission to travel outside of the state of Tennessee at the time of the instant offense,

which occurred in the District of Columbia.

         WHEREFORE, the United States respectfully requests that this filing supplement the

 Government’s Memorandum in Support of Pre-trial Detention (ECF No. 32).


                                                       Respectfully submitted,

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                                                       /s/Tara Ravindra
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                                                        /s/ Cara Gardner
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 30, 2021, I served a copy of this pleading on
defendant’s counsel through the Court’s electronic filing system.

                                                        /s/ Tara Ravindra
                                                       Tara Ravindra
                                                       Assistant United States Attorney
